Case 2:05-cr-20201-.]DB Document 25 Filed 07/21/05 Page 1 of 2 Page|D 37

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iN THE uNiTED STATEs DisTFticT COURT

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UN|TED STATES OF Al\/|ERiCA W!@ G: q ` _¢i-!§.;\.{,gpt.§g
Piaintiff
VS.
CR. NO. 05-20201-B
JOHN FOFiD,
Detendant.

 

OF"¢DEF{ ON CONTlNUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the August, 2005 criminal rotation calendar. Counsel
for the defendant has requested a continuance of the trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

5
a Beport Date of Thursdav. August 25, 200£: at 8:45 am., in Courtroom 1, ttth Floor

of the Federai Bui|ding, Niemphis, TN.

 

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

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UNITED sTATE D"ISIC COURT - WESTER D's'TRCT 0 TESSEE

 
 

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This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

